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   Exhibit 10
 Response to
   Plaintiff’s
Interrogatories
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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


LAURA E. LOPERA,                               )
                                               )
               PLAINTIFF,                      )
                                               )
       v.                                      )
                                                     CIVIL ACTION NO. 1:20-cv-10355-NMG
                                               )
COMPASS GROUP USA, INC. AND                    )
MARIE MONTFLEURY,                              )
INDIVIDUALLY,                                  )
                                               )
               DEFENDANTS.
                                               )
                                               )

        DEFENDANT COMPASS GROUP, INC.’S RESPONSE TO PLAINTIFF’S
                    FIRST SET OF INTERROGATORIES

       Pursuant to Fed. R. Civ. P. 26 and 33, Defendant Compass Group USA, Inc. (“Compass”

or “Defendant”) hereby responds to Plaintiff Laura E. Lopera’s (“Plaintiff” or “Lopera”) First Set

of Interrogatories as follows:


                                 PRELIMINARY STATEMENT

       Defendant incorporates each of the following statements and objections into each of its

responses to Plaintiff’s Interrogatories as though fully stated in each response. Defendant makes

its responses subject to and without waiving any of these statements and objections.
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Medical Center and temporary workers), and other duties as needed to ensure that food services

were provided to Boston Medical Center in accordance client service expectations.

INTERROGATORY NO. 6

Please state all reasons why you terminated Plaintiff from her position in the Kitchen of BMC,
including in your answer all persons who participated in the decision and all facts supporting the
decision.

RESPONSE TO INTERROGATORY NO. 6

       Defendant’s subsidiary, Morrison Management Specialists, Inc., removed Plaintiff from

the position of Manager, Patient Services II, also known as Patient Services Manager II or Patient

Services Manager Assistant, at Boston Medical Center, placed Plaintiff on paid administrative

leave effective August 13, 2018, and offered her the opportunity to conduct a paid job search for

other positions in the subsidiaries and divisions of Compass Group USA, Inc. for a period of thirty

days. Plaintiff’s employment terminated as a result of her failure to secure another position with

a subsidiary or division of Compass Group USA, Inc. with the thirty-day paid period.

       Morrison Management Specialists, Inc. reached the decision to remove Plaintiff from the

Boston Medical Center account based on a conclusion that Plaintiff was not successful in the

position due to her job performance, including, without limitation, her behavior and conduct in

meetings with her management team, neglect of job duties, and her stated refusal to perform duties

necessary to meet client service expectations. Defendant incorporates by reference the progressive

counseling issued on or around August 6, 2018 and identified by Bates No. COMPASS-LL000142

and other documents identified by Bates Nos. COMPASS-LL000096-000101, COMPASS-

LL000103,     COMPASS-LL000112-000117,              COMPASS-LL000225-000230,          COMPASS-

LL000241-000246, COMPASS-LL000341-000343, COMPASS-LL000347-000352, COMPASS-

LL000476-000479, COMPASS-LL000480-000490, COMPASS-LL000696-000697, COMPASS-

LL000705-000706, COMPASS-LL000719-000721, COMPASS-LL000951-000953.



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INTERROGATORY NO. 7

Please state all reasons Compass failed to offer any position to Plaintiff after she was removed
from her position at BMC.

RESPONSE TO INTERROGATORY NO. 7

       Defendant objects to this interrogatory on the grounds that it is overly broad in that it asks

Defendant to state “all reasons” it failed to offer any position to Plaintiff after August 13, 2018,

where the reasons may be undocumented and/or not recalled by individuals identified in records

of Compass at COMPASS-LL000505-000517.

       Defendant refers to documents identified as COMPASS-LL000505-000517 and

COMPASS-LL000731 – 000733, COMPASS-LL000736, and COMPASS-LL000741, as to

positions to which Plaintiff applied with a Compass Group USA, Inc. subsidiary or division.

Overall, Plaintiff was not among the qualified candidates for positions advanced for further

consideration in requisitions 203473, 018180, 2014844, and for two other positions, records

indicate Plaintiff withdrew her candidacy.

INTERROGATORY NO. 8

Please state whether Plaintiff is eligible for rehire with Compass, including in your answer all
reasons therefor.

RESPONSE TO INTERROGATORY NO. 8

       Plaintiff is eligible for rehire or hire with Defendant’s subsidiaries based on recognition by

Morrison Management Specialists, Inc. that Plaintiff was not successful in the position of

Manager, Patient Services II, also known as Patient Services Manager II and Patient Services

Manager Assistant, at the account with Boston Medical Center, but had performed successfully in

her employment and roles with Flik International Corp.




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Management Specialists, Inc., Ms. Parsons and Mr. Green were in the position of Associate

Director I.

INTERROGATORY NO. 16

If you contend that Compass fulfilled its legal obligations under the Family and Medical Leave
Act with respect to Plaintiff, please state all facts supporting your contention.

RESPONSE TO INTERROGATORY NO. 16

       Defendant objects to this interrogatory on the grounds that it is overly broad and unduly

burdensome and not reasonably calculated to lead to the discovery of admissible or relevant

information. Defendant objects to this interrogatory because it is overly broad and unduly

burdensome in that it seeks information that is neither relevant to a party’s claim or defense nor

proportional to the needs of the case, considering the importance of the issues at stake in the action,

the amount in controversy, the parties’ relative access to relevant information, the parties’

resources, the importance of the discovery in resolving the issues, and whether the burden or

expense of the proposed discovery outweighs its likely benefit.           Defendant objects to this

interrogatory on the grounds that it seeks the mental impressions, thought process, legal analysis

and other work product of its attorneys, and/or communications related to legal advice, which

information is privileged under the attorney client privilege and/or work product doctrine.

       Subject to and without waiving its objections, Defendant refers to the documents identified

as COMPASS-LL000023-000026, COMPASS-LL000167-000208.                         Morrison Management

Specialists, Inc., by the Compass leave of absence department (Compass LOA), provided Plaintiff

with notice of the Family and Medical Leave Act policy and rights in the Handbook, requested by

letter dated 7/31/2018 that Plaintiff provide a medical certification form in relation to the request

for approval of leave for 7/17/2018, 7/18/2018, 7/20/2018, 7/31/2018, and 8/1/2018. No medical

certification form was received. By letter dated 9/6/2018, Compass LOA notified Plaintiff that it




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had not received the requested medical certification and the leave was denied effective 7/17/2018.

Morrison Management Specialists, Inc., by Compass LOA letter dated 8/2/2018, requested that

Plaintiff provide medical certification form in relation to the request for leave for 8/1 through

8/4/2018. On August 14, 2018, Katrina Parson submitted two doctor’s notes to Compass LOA,

which she received from Plaintiff. By letter dated 8/29/2018, Compass LOA notified Plaintiff that

her leave for 8/1 through 8/4/2018 was approved for federal FMLA.

INTERROGATORY NO. 17

Please identify all persons whom Compass consulted concerning its decisions with respect to
Plaintiff’s request(s) for medical leave, and include in your answer each such person’s full legal
name, last-known residential address, telephone number, current employer, and all positions they
held while employed by Compass and/or BMC, including dates they held each position.

RESPONSE TO INTERROGATORY NO. 17

       Defendant refers to and incorporates by reference as if fully restated here, its responses to

Interrogatories 15 and 16, above.

INTERROGATORY NO. 18

Please identify each person whom you expect to or may call as a fact witness, including in your
answer each such person’s full name, address, employer, dates of employment, job title, and a
complete description of all facts that you believe the person would testify to at trial.

RESPONSE TO INTERROGATORY NO. 18

       Defendant objects to this interrogatory on the grounds that it is overly broad and unduly

burdensome and not reasonably calculated to lead to the discovery of admissible or relevant

information. Defendant objects to this interrogatory because it is overly broad and unduly

burdensome in that it seeks information that is neither relevant to a party’s claim or defense nor

proportional to the needs of the case, considering the importance of the issues at stake in the action,

the amount in controversy, the parties’ relative access to relevant information, the parties’

resources, the importance of the discovery in resolving the issues, and whether the burden or




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AS TO ANSWERS:

                 VERIFICATION OF CORPORTAE REPRESENTATIVE

        I hereby verify: (1) that I have reviewed Defendant’s Answers to Plaintiff’s First Set of
Interrogatories; (2) that I do not have personal or first-hand knowledge of all the matters contained
herein; but (3) that the information which was relied upon to answer all of these Interrogatories
was gathered with the assistance of counsel for Defendant and/or at the direction of counsel for
Defendant by Defendant’s employees, and is true and correct to the best of my knowledge,
information and belief.



                                                      Signed under the penalties of perjury,
                                                      COMPASS GROUP USA, INC.

                                                      By:


                                                      MIA AMADO
                                                      Senior Director, Dining Services
                                                      Morrison Management Services, Inc.




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                                                  Respectfully submitted,

                                                  As to objections,




                                                  /s/Siobhan M. Sweeney
                                                  Siobhan M. Sweeney (BBO # 562118)
                                                  LITTLER MENDELSON, P.C.
                                                  One International Place
                                                  Suite 2700
                                                  Boston, MA 02110
                                                  Phone 617.378.6000
                                                  Mobile 617.513.9167
October 19, 2020                                  Fax 617.507.5634
                                                  ssweeney@littler.com




                                      Certificate of Service
        I hereby certify that a true copy of the foregoing document was served on counsel of record
for Plaintiff on October 19, 2020, by email delivery and notification to:
Michaela C. May at mmay@bennettandbelfort.com
Eric R. LeBlanc at eleblanc@bennettandbelfort.com
                                                     /s/Siobhan M. Sweeney
                                                     Siobhan M. Sweeney


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AS TO ANSWERS:


                 VERIFICATION OF CORPORTAE REPRESENTATIVE


       I hereby verify: (1) that I have reviewed Defendant's Answers to Plaintiffs First Set of
Interrogatories; (2) that I do not have personal or first-hand knowledge of all the matters contained
herein; but (3) that the information which was relied upon to answer all of these Interrogatories
was gathered with the assistance of counsel for Defendant and/or at the direction of counsel for
Defendant by Defendant's employees, and is true and correct to the best of my knowledge,
information and belief.




                                                      Signed under the penalties of perjury,
                                                      COMPASS GROUP USA, INC.


                                                      By:




                                                      MIA AMADO
                                                      Senior Director, Dining Services
                                                      Morrison Management Specialists, Inc.
